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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


VIRGINIA L. GIUFFRE,

            Plaintiff,                          CASE NO:


v.

PRINCE ANDREW, DUKE OF YORK,
a/k/a ANDREW ALBERT CHRISTIAN
EDWARD, in his personal capacity,

            Defendant.

_____________________________________ /


                                    COMPLAINT




                                          BOIES SCHILLER FLEXNER LLP
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       Plaintiff Virginia L. Giuffre, by her attorneys Boies Schiller Flexner LLP, for her

Complaint against Defendant Prince Andrew, Duke of York, a/k/a Andrew Albert Christian

Edward (“Prince Andrew”), avers upon personal knowledge as to her own acts and status and upon

information and belief and to all other matters as follows:

                                  NATURE OF THE ACTION

       1.       This suit arises out of Defendant’s sexual abuse of Plaintiff when she was under the

age of 18 years old.

       2.       During 2000–2002, beginning when Plaintiff was 16, Plaintiff was the victim of

sex trafficking and abuse by convicted sex offender Jeffrey Epstein.

       3.       Epstein’s trafficking scheme involved recruiting young girls, often by claiming

they would be paid $200 for simply providing a massage to a wealthy billionaire. This same pattern

was repeated numerous times with countless children and young women.

       4.       As United States District Judge Kenneth Marra found, “From between about 1999

and 2007, Jeffrey Epstein sexually abused more than 30 minor girls . . . at his mansion in Palm

Beach, Florida, and elsewhere in the United States and overseas . . . . In addition to his own sexual

abuse of the victims, Epstein directed other persons to abuse the girls sexually. Epstein used paid

employees to find and bring minor girls to him. Epstein worked in concert with others to obtain

minors not only for his own sexual gratification, but also for the sexual gratification of others.”

Opinion and Order, Doc. No. 435 at 1–2, Jane Doe 1 and Jane Doe 2 v. United States, Case No.

9:08-cv-80736 (S.D. Fla. Feb. 21, 2019).

       5.       Like other minor children who came before and after her, Plaintiff was initially

recruited to provide massages, and thereafter to engage in a variety of sexual acts, for Epstein.

Plaintiff was required to be on call for Epstein for sexual purposes and frequently traveled with

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him both nationally and internationally. Plaintiff was regularly abused by Epstein and was lent

out by Epstein to other powerful men for sexual purposes.

       6.       One such powerful man to whom Plaintiff was lent out for sexual purposes was the

Defendant, Prince Andrew, the Duke of York.

       7.       Prince Andrew was a close friend of Ghislaine Maxwell, a British socialite who

spent years overseeing and managing Epstein’s sex trafficking network, and actively recruited

underage girls, including Plaintiff.

       8.       According to Prince Andrew, he met Epstein through Maxwell in 1999. Prince

Andrew thereafter became a frequent guest in Epstein’s various homes around the world, including

New York City where he sexually abused Plaintiff at Epstein and Maxwell’s invitation when she

was a minor.

       9.       After publicly feigning ignorance about the scope of Epstein’s sex-trafficking

operation and sympathy for Epstein’s victims, Prince Andrew has refused to cooperate with U.S.

authorities in their investigation and prosecution of Epstein and his co-conspirators.

       10.      Prince Andrew committed sexual assault and battery upon Plaintiff when she was

17 years old. As such, Prince Andrew is responsible for battery and intentional infliction of

emotional distress pursuant to New York common law. The damage to Plaintiff has been severe

and lasting.

       11.      This action has been timely filed pursuant to the Child Victims Act, N.Y. C.P.L.R.

§ 214-g. The actions described herein constitute sexual offenses by Defendant under New York

Penal Law Article 130, and were committed against Plaintiff when she was a child less than

eighteen years of age, for which she suffered physical, psychological, and other injuries as a result.




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                                              PARTIES

         12.    Plaintiff Virginia L. Giuffre is an individual who is a citizen of the State of

Colorado.

         13.    Defendant Prince Andrew is a citizen of the United Kingdom, and is currently

residing at the Royal Lodge at Windsor Great Park, Berkshire, United Kingdom, where he is

domiciled.

                                  JURISDICTION AND VENUE

         14.    This Court has diversity jurisdiction over this dispute pursuant to 28 U.S.C.

§ 1332(a)(2). Plaintiff is a citizen of a State and Defendant is a citizen of a foreign state, and the

amount in controversy exceeds the sum or value of $75,000.00 excluding interests and costs.

         15.    Venue is proper in this Court as a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred within this District. 28 U.S.C. § 1391(b)(2).

         16.    This Court has personal jurisdiction over Defendant as Defendant sexually abused

Plaintiff in this state, and has thus committed a tortious action within this State pursuant to New

York’s long-arm statute, N.Y. C.P.L.R. § 302(a)(2). Defendant also visited Jeffrey Epstein in this

State on numerous occasions. Defendant could reasonably anticipate that a suit based upon his

acts and omissions with respect to Plaintiff could result in him being subject to suit in this State,

and this suit arises directly out of the Defendant’s acts or omissions with respect to Plaintiff in this

state.

                                   FACTUAL ALLEGATIONS

A.       Epstein’s Sex Trafficking Enterprise

         17.    Jeffrey Epstein was widely renowned as a billionaire who used his vast connections

to powerful individuals, and seemingly unlimited wealth and resources, to create a web of


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transcontinental sex trafficking that served himself, his coconspirators, and some of the most

powerful people in the world.

        18.      Ghislaine Maxwell is a British socialite and the daughter of disgraced publishing

tycoon Robert Maxwell. Maxwell was the highest-ranking recruiter in Epstein’s sex-trafficking

enterprise. Maxwell is currently facing criminal charges in the Southern District of New York

stemming from her role in Epstein’s sex-trafficking enterprise, and is set to face trial in the fall.

        19.      Epstein had perfected a scheme for manipulation and abuse of young females. As

part of the scheme, Maxwell or another female recruiter would approach a young girl and strike

up a conversation in an effort to quickly learn about the girl’s background and any vulnerabilities

they could expose. Epstein’s recruiters found their targets everywhere and anywhere, including

schools, spas, trailer parks, and the street.

        20.      The recruiter would then manipulate the young female into coming back to one of

Epstein’s residences by offering the young girl something she needed, depending on her situation.

In many cases, the recruiter sought out girls who wanted to be professional masseuses and invited

them to one of Epstein’s homes by offering them what appeared to be legitimate masseuse

positions.

        21.      Once in the residence, Epstein and his co-conspirators would work in concert to

impress and intimidate the young female with displays of vast wealth and power. They would

brag about their connections to very powerful political and social figures, and display photographs

of themselves with those figures around Epstein’s homes. They would normalize the sexual abuse

by displaying photographs and art displaying nude females, and a massage table and spa related

products in an effort to legitimize the area where the abuse was set to occur.




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       22.     Once abused, Epstein and Maxwell continued to manipulate their victims, using

their financial power, promises, and threats to ensure that the victim returned as directed and

remained compliant with their demands. Epstein and his lawyers would even gather information

about the victims to use against them if they ever disobeyed him, and his homes were under

constant surveillance.

       23.     Message pads recovered during trash pulls at Epstein’s Palm Beach mansion reflect

messages that his staff took to relay to Epstein. They show the constant flow of girls to Epstein,

sometimes three per day. Epstein’s employees have also described young girls constantly being

present at Epstein’s different homes. Epstein’s constant access to young girls is also evidenced in

his “Black Book,” a book of phone numbers and contact information listing girls to call for

“massages” in various cities, flight logs documenting his frequent travel with young girls and

powerful individuals on his private plane, and troves of lewd photographs of young girls recovered

from his homes. In his Black Book, Epstein had at least 12 different contact numbers listed for

Prince Andrew.

       24.     Plaintiff became a victim of sex trafficking and repeated sexual abuse after

Maxwell recruited her into Epstein’s sex-trafficking operation when Plaintiff was working at the

Mar-A-Lago Club in Palm Beach, Florida.

       25.     Between 2000 and 2002, Epstein sexually abused Plaintiff at numerous locations

including his mansion in this District, at 9 East 71st Street, New York, New York 10021.

       26.     Epstein also flew Plaintiff on his plane nationally and internationally numerous

times when she was under the age of 18. Only portions of the flight logs of Epstein’s private planes

have yet been recovered, and Epstein also flew Plaintiff frequently on commercial airlines to meet

him and others. However, the chart below, which shows Plaintiff’s flights on Epstein’s private

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plane from the limited logs that are available, illustrates the international scope of Epstein’s sex

trafficking.




        27.    In addition to being abused by Epstein himself, Plaintiff was also forced to have

sex with Defendant, Prince Andrew, the Duke of York, at Epstein and Maxwell’s direction.

        28.    As part of their sex trafficking efforts, Epstein and Maxwell intimidated Plaintiff

into remaining silent about what had happened to her.

        29.    After years of abuse, Epstein sent Plaintiff to Thailand in September 2002. One of

Plaintiff’s assignments from Epstein was to bring a young girl back to Epstein in the United States.

Fearing for her life, and not wanting to subject another young girl to the abuse she was forced to

endure, Plaintiff fled from Thailand to Australia to escape from Epstein.

B.     Defendant’s Relationship with Epstein and Maxwell

        30.    According to Prince Andrew, he first met Epstein in 1999 through Maxwell, Prince

Andrew’s close friend. Prince Andrew and Maxwell have been photographed at numerous social

events together.

        31.    According to available flight logs, Prince Andrew began flying with Epstein on his

private plane as early as 1999, when he flew with Epstein and Maxwell to Epstein’s private island,

Little St. James. Prince Andrew’s name also appears in other available flight log entries from

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around the same time, showing travel with Epstein and Maxwell to and from other locations,

including West Palm Beach, Florida, and Teterboro, New Jersey.

       32.     In 2000, Epstein and Maxwell attended Prince Andrew’s 40th birthday party. That

same year, Prince Andrew threw Maxwell a birthday party in Sandringham, United Kingdom, and

Epstein was among the guests.

       33.     In 2006, Prince Andrew invited Epstein to his daughter’s 18th birthday party,

despite Epstein being charged with procuring a minor for prostitution only one month prior.

       34.     Prince Andrew has himself confirmed that he has been on Epstein’s private plane,

stayed at Epstein’s private island, and stayed at Epstein’s homes in Palm Beach, Florida, and New

York, New York. See Prince Andrew's links to Jeffrey Epstein, BBC News (Nov. 16, 2019),

available at https://www.bbc.com/news/uk-49411215.

       35.     Members of Epstein’s house staff have confirmed witnessing Prince Andrew visit

Epstein’s numerous homes, both to the media and in sworn testimony.

C.    Defendant’s Sexual Abuse of Plaintiff

       36.     Prince Andrew abused Plaintiff on separate occasions when she was under the age

of 18 years old.

       37.     On one occasion, Prince Andrew sexually abused Plaintiff in London at Maxwell’s

home. During this encounter, Epstein, Maxwell, and Prince Andrew forced Plaintiff, a child, to

have sexual intercourse with Prince Andrew against her will.

       38.     The below photograph depicts Prince Andrew, Plaintiff, and Maxwell at Maxwell’s

home prior to Prince Andrew sexually abusing Plaintiff.




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       39.       On another occasion, Prince Andrew sexually abused Plaintiff in Epstein’s New

York mansion in this District. During this encounter, Maxwell forced Plaintiff, a child, and another

victim to sit on Prince Andrew’s lap as Prince Andrew touched her. During his visit to New York,

Prince Andrew forced Plaintiff to engage in sex acts against her will.

       40.       On another occasion, Prince Andrew sexually abused Plaintiff on Epstein’s private

island in the U.S. Virgin Islands, Little St. James.

       41.       During each of the aforementioned incidents, Plaintiff was compelled by express

or implied threats by Epstein, Maxwell, and/or Prince Andrew to engage in sexual acts with Prince

Andrew, and feared death or physical injury to herself or another and other repercussions for

disobeying Epstein, Maxwell, and Prince Andrew due to their powerful connections, wealth, and

authority.


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        42.     During each of the aforementioned incidents, Prince Andrew acted with intent to

compel Plaintiff’s submission.

        43.     Prince Andrew engaged in each of the aforementioned sexual acts with Plaintiff at

Epstein and Maxwell’s invitation, knowing that she was a sex-trafficking victim being forced to

engage in sexual acts with him.

        44.     During each of the aforementioned incidents, Plaintiff did not consent to engaging

in sexual acts with Prince Andrew.

        45.     During each of the aforementioned incidents, Prince Andrew knew Plaintiff’s age

based on communications from Epstein and Maxwell.

        46.     During each of the aforementioned incidents, Prince Andrew sexually abused

Plaintiff for the purpose of gratifying his sexual desires.

        47.     During each of the aforementioned incidents, Prince Andrew was acting in his

individual, personal capacity, and was not performing any duty relating to his former role as a

trade envoy, any duty relating to his role as a member of the Royal Family of the United Kingdom,

or any other official or diplomatic duty or function.

        48.     Defendant’s sexual assault and battery of Plaintiff have caused her, and continue to

cause her, significant emotional and psychological distress and harm.

D.     The Arrest, Prosecution, and Death of Epstein, and Prince Andrew’s Refusal to
        Cooperate with the Authorities

        49.     In 2008, Epstein pled guilty in Florida to the charge of procuring a minor for

prostitution.

        50.     In 2010, after Epstein had served his sentence and registered as a sex offender,

Prince Andrew was photographed with Epstein in Central Park and stayed at Epstein’s New York

City mansion.
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       51.       Epstein flippantly referred to his sexual abuse of multiple minors, and the slap on

the wrist he had received for it, in a 2011 interview with the New York Post: “Billionaire pervert

Jeffrey Epstein is back in New York City—and making wisecracks about his just-ended jail stint

for having sex with an underage girl. ‘I am not a sexual predator, I’m an “offender,”’ the financier

told The Post yesterday. ‘It’s the difference between a murderer and a person who steals a bagel,’

said Epstein.” See Amber Sutherland, Billionaire Jeffrey Epstein: I’m a Sex Offender, Not A

Predator, New York Post (Feb. 25, 2011), available at https://bit.ly/2s3ebwk.

       52.       Around the same time, Prince Andrew began to face criticism over his well-

publicized friendship with Epstein.

       53.       In early 2015, after Plaintiff had publicly accused Prince Andrew of sexually

abusing her, Prince Andrew emailed Maxwell stating, “Let me know when we can talk. Got some

specific questions to ask you about Virginia Roberts.”

       54.       On July 2, 2019, the U.S. Attorney’s Office for the Southern District of New York

(“SDNY”) charged Epstein with sex trafficking conspiracy and sex trafficking in violation of 18

U.S.C. § 1591.

       55.       Epstein was arrested on July 8, 2019, pursuant to a Sealed Two Count Indictment.

       56.       Epstein was found dead in his cell at the Metropolitan Correctional Center on

August 10, 2019.

       57.       Just one year before his death, Epstein told a New York Times reporter “that

criminalizing sex with teenage girls was a cultural aberration and that at times in history it was

perfectly acceptable.” James B. Stewart, The Day Jeffrey Epstein Told Me He Had Dirt on

Powerful       People,       N.Y.      Times       (Aug.      12,      2019),      available      at

https://www.nytimes.com/2019/08/12/business/jeffrey-epstein-interview.html.

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        58.       After Epstein’s second arrest and death, numerous of his co-conspirators and the

wealthy individuals to whom he trafficked girls—including Prince Andrew—began to face

increased public scrutiny for having close ties to a convicted sex offender.

        59.       In November 2019, in response to this renewed scrutiny, Prince Andrew sat for an

interview with BBC Newsnight. Prince Andrew stated that he did not regret his friendship with

Epstein and that he had no recollection of meeting Plaintiff, despite photographic evidence to the

contrary.

        60.       Prince Andrew publicly pledged, including in a statement stepping down from his

public duties and in his Newsnight interview, to assist the U.S. authorities with their criminal

investigation of Epstein and his co-conspirators. A statement by His Royal Highness The Duke of

York (Nov. 20 2019), available at https://www.royal.uk/statement-his-royal-highness-duke-york

(“Of course, I am willing to help any appropriate law enforcement agency with their investigations,

if required.”).

        61.       Despite this public pledge, Prince Andrew has refused to cooperate with U.S.

authorities. Former SDNY U.S. Attorney Geoffrey Berman stated that Prince Andrew had

provided “zero co-operation” despite U.S. prosecutors and the FBI contacting Prince Andrew’s

counsel. Prince Andrew gives ‘zero co-operation’ over Epstein inquiry, US prosecutor says, BBC

News (Jan. 27, 2020), available at https://www.bbc.com/news/uk-51271871.

        62.       Prince Andrew and his counsel have also refused to cooperate with counsel for the

victims of Epstein’s sex trafficking. Counsel for the victims of Epstein’s sex trafficking, including

counsel for Plaintiff, have repeatedly asked for a meeting or telephone call with Prince Andrew

and/or his representatives to enable Prince Andrew to provide whatever facts, context, or

explanation he might have, and to explore alternative dispute resolution approaches. Prince

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Andrew and his representatives have rejected all such requests, and responded by escalating their

vile and baseless attacks on Plaintiff and others.

          63.   On July 19, 2021, counsel for Plaintiff proposed a tolling agreement that would

have enabled Plaintiff not to sue Prince Andrew at this time, while avoiding any argument that her

failure to do so caused her claims to be time-barred. Again Prince Andrew stonewalled—ignoring

Plaintiff’s letter and emails without any reply or response, thereby making this action necessary

now. A copy of the July 19, 2021, letter proposing a tolling agreement is attached as Exhibit A to

this Complaint.

          64.   In this country no person, whether President or Prince, is above the law, and no

person, no matter how powerless or vulnerable, can be deprived of the law’s protection. Twenty

years ago Prince Andrew’s wealth, power, position, and connections enabled him to abuse a

frightened, vulnerable child with no one there to protect her. It is long past the time for him to be

held to account.

                                   FIRST CAUSE OF ACTION

                                              (Battery)

          65.   Plaintiff repeats and re-alleges the allegations stated above as if fully set forth

herein.

          66.   Prince Andrew intentionally committed battery by sexually assaulting Plaintiff

when she was a minor. As described above, on multiple occasions Prince Andrew intentionally

touched Plaintiff in an offensive and sexual manner without her consent.

          67.   Prince Andrew’s actions constitute sexual offenses as defined in New York Penal

Law Article 130, including but not limited to sexual misconduct as defined in Article 130.20, rape

in the third degree as defined in Article 130.25, rape in the first degree as defined in Article 130.35,

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forcible touching as defined in Article 130.52, sexual abuse in the third degree as defined in Article

130.55, and sexual abuse in the first degree as defined in Article 130.65. See N.Y. C.P.L.R.

§ 214-g.

          68.   As a direct and proximate result of Prince Andrew’s criminal acts, Plaintiff has in

the past and will in the future continue to suffer substantial damages, including extreme emotional

distress, humiliation, fear, psychological trauma, loss of dignity and self-esteem, and invasion of

her privacy.

                                 SECOND CAUSE OF ACTION

                          (Intentional Infliction of Emotional Distress)

          69.   Plaintiff repeats and re-alleges the allegations stated above as if fully set forth

herein.

          70.   As a direct result of these allegations as stated, Prince Andrew committed

intentional infliction of emotional distress against Plaintiff.

          71.   Prince Andrew’s actions, described above, constitute extreme and outrageous

conduct that shocks the conscience. Prince Andrew’s sexual abuse of a child who he knew was a

sex-trafficking victim, and when he was approximately 40 years old, goes beyond all possible

bounds of decency and is intolerable in a civilized community.

          72.   Prince Andrew knew or disregarded the substantial likelihood that these actions

would cause Plaintiff severe emotional distress.

          73.   As a direct and proximate result of Prince Andrew’s criminal acts, Plaintiff has in

the past and will in the future continue to suffer substantial damages, including extreme emotional

distress, humiliation, fear, psychological trauma, loss of dignity and self-esteem, and invasion of

her privacy.


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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment against Defendant, awarding

compensatory, consequential, exemplary, and punitive damages in an amount to be determined at

trial; costs of suit; attorneys’ fees; and such other and further relief as the Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury on all causes of action asserted within this pleading.



Dated: August 9, 2021                                    BOIES SCHILLER FLEXNER LLP

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